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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MAX A. RADY,
                                                           Case No.: 1:20-cv-02285
                                 Plaintiff,
                                                           JURY TRIAL DEMANDED
                  - against -

BOSTON CONSULTING GROUP, LLC and
De BEERS GROUP,

                                Defendants.



                                          COMPLAINT

       Max A. Rady (“Mr. Rady”), by his attorneys, Whiteford, Taylor & Preston, L.L.P.,

as and for his Complaint against the Defendants, Boston Consulting Group, LLC (“BCG”)

and De Beers Group (“De Beers”) (BCG and De Beers will collectively be referred to as

the “Defendants”), for patent infringement, breach of contract, misappropriation of trade

secrets, and other claims, alleges as follows:
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                                      OVERVIEW

       1.     According to a May 2019 article by BCG titled “Stamping out Counterfeit

Goods with Blockchain and IoT,” counterfeiting is a widespread economic problem that

results in billions of dollars in lost business revenue each year, exposing individuals and

corporations to heightened health, safety, and cybersecurity risks from fraudulent materials

and defective parts. For example, within the pharmaceutical industry, between $75 billion

and $200 billion in counterfeit drugs are sold each year. In the electronics industry,

counterfeit parts cost component manufacturers approximately $100 billion annually. And,

in the luxury goods market, as much as 10% of all items for sale are counterfeits,

representing as much as $28 billion in lost value.

       2.     According to this same article, what makes the impact of counterfeit goods

and parts so damaging is its reach as fraudulent parts and goods affect every stage of the

product life cycle — from the manufacturing floor to the point of sale, to the servicing

function and beyond — driving up costs, eroding revenues, and damaging company

reputations and brands.

       3.     The gemstone industry has long struggled with keeping counterfeits out of

the market and providing greater transparency of the provenance and sourcing of each

particular stone.   The benefits to the industry of a quick, reliable, and transparent

application to confirm provenance and sourcing could be significant. For example, studies

have shown that customers are more willing to pay an increased amount for a stone that is

guaranteed to be both legitimate and ethically sourced.

       4.     Additionally, the lack of a reliable way to identify and authenticate

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gemstones at scale allows fraudulent actors to use the same stone as collateral for multiple

transactions. An application to confirm the provenance of gemstones would allow stones

to be traced by their unique characteristics, allowing banks and lenders to identify any

“double spending” of stones.

       5.     Such an application could also connect gemstone suppliers and retailers on a

single, standardized platform allowing for rapid, seamless communication between parties,

enabling the easy transfer of money between countries and the trading of assets without

middlemen.

       6.     In August 2010, Mr. Rady began a joint Masters/PhD program as a part-time,

self-funded student at the prestigious Kings College at the University of London.

       7.     As an extension of Mr. Rady’s research efforts, he developed a method to

record to a blockchain the individual identification signatures of physical items that have

unique, random properties. In particular, physical items are analyzed using 3D spatial

mapping and spectral analysis to determine each item’s individual identification signature.

These signatures are then recorded to a blockchain allowing users to guarantee the

authenticity and provenance of each item’s location and source throughout the supply

chain, even where significant modifications are made to that item.

       8.     Using Mr. Rady’s system and method, the provenance of gemstones can be

easily and quickly authenticated throughout the supply chain without the need to confirm

with a central authority no matter how many times the gemstone is cut, polished, or

otherwise modified.

       9.     Certain aspects of Mr. Rady’s technology are now claimed in United States

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Patent No. 10,469,250 (“the ‘250 patent”), while other aspects of his technology have been

maintained in confidence by Mr. Rady. A copy of the ‘250 patent is attached as Exhibit

A.

       10.    In June 2016, nearly six (6) years after Mr. Rady began his research at Kings

College, Mr. Rady became employed at BCG in various roles working primarily on two

projects wholly unrelated to the identification of counterfeit goods or insuring the

provenance of gemstones.

       11.    Upon information and belief, sometime in 2017, BCG began working with

De Beers to develop a method to identify and insure the provenance of gemstones.

       12.    In early 2018, when, despite considerable effort, BCG had yet to develop a

solution for De Beers, certain leaders of the development team overseeing the De Beers

project contacted Mr. Rady knowing his PhD research was focused on physical optical

properties, photonics, and statistical modeling and analysis for predictive rendering relating

to physical assets, including gemstones, and had led to the filing of a patent application

that claimed an invention that BCG could possibly implement in a solution for De Beers.

       13.    Mr. Rady disclosed details about his technology and the invention claimed

in his then unpublished patent application to the BCG team working on the De Beers

project only after BCG repeatedly agreed to maintain all information provided it by Mr.

Rady in strict confidence and not to use such information without Mr. Rady’s consent.

       14.    A few short months later, however, BCG publicized its gemstone provenance

and authentication method developed for De Beers, which became known as TRACR. This

method was substantially similar to the detailed method disclosed to BCG by Mr. Rady

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and its use and disclosure was contrary to BCG’s agreement not to use or disclose without

Mr. Rady’s consent. TRACR also infringes what was claimed in Mr. Rady’s patent

application that later issued as the ‘250 patent.

       15.    Shortly after Mr. Rady learned of this breach of confidence and Defendants’

development and promotion of the De Beers solution, Mr. Rady confronted BCG about its

improper use of his technology. Instead of compensating Mr. Rady for the use of his

technology, or explaining how TRACR had been independently developed, BCG

terminated Mr. Rady’s employment.

       16.    This suit seeks damages arising from Defendants’ patent infringement and

misappropriation of trade secrets, as well as for BCG’s breach of contract.

                                         PARTIES

       17.    Mr. Rady is a citizen of the United States of America and the United

Kingdom who currently resides in France. In August 2010, Mr. Rady commenced a joint

Masters/PhD program in computer science at the prestigious Kings College at the

University of London.      Mr. Rady’s research focused on physical optical properties,

photonics, and statistical modeling and analysis for predictive rendering relating to

physical assets, including gemstones. In June 2016, Mr. Rady was hired by a particular

unit within BCG in London, United Kingdom as a Senior Engineer. In November 2017,

Mr. Rady continued employment in various positions within another particular unit within

BCG in Paris, France until his termination in October 2018.

       18.    BCG is a limited liability partnership incorporated under the laws of

Delaware with offices throughout the world, including this Judicial District. BCG provides

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clients with consulting and technology implementation services to drive clients’

technological change and growth to build competitive advantages and drive bottom line

impact.

       19.    De Beers is a corporation formed under the laws of the Bailiwick of Jersey.

De Beers is the world’s leading diamond company involved in all aspects of the diamond

trade, including diamond exploration, mining, and trading, as well as wholesale and retail

sales. Certain of De Beers’ improper actions complained of herein occurred in this Judicial

District.

                              JURISDICTION AND VENUE

       20.    This Court has exclusive subject matter jurisdiction over Mr. Rady’s claims

pursuant to federal question jurisdiction, 28 U.S.C. §§ 1331 and 1338(a) and (b).

       21.    This Court has personal jurisdiction over the Defendants as each Defendant

engages in regular business activities in this Judicial District, has regular and established

places of businesses in this Judicial District, and/or have committed acts of patent

infringement in this Judicial District. Also, certain of the acts complained of herein

occurred in this Judicial District.

       22.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)-(c)

and/or 1400(b).


                         FACTS COMMON TO ALL COUNTS

       Mr. Rady’s Education and Employment with BCG

       23.    In August 2010, Mr. Rady began a joint Masters/PhD program as a self-


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funded, part-time student at the prestigious Kings College at the University of London.

Mr. Rady’s research focused on physical optical properties, photonics, and statistical

modeling and analysis for predictive rendering as it relates to physical assets, including

gemstones.

       24.    In June 2016, Mr. Rady was hired by BCG in London as a senior engineer.

Mr. Rady initially worked as part of a particular business unit within BCG known as BCG

Digital Ventures (“BCG DV”).

       25.    While assigned to BCG DV, Mr. Rady was assigned in May 2017, to work

in BCG’s Paris office on a project known as “Cyclope.”              Cyclope related to the

development of an artificial intelligence and computer vision application for motor vehicle

toll booth classification and roadway accident detection. While not officially given the

title, Mr. Rady acted, for the most part, as the Chief Technology Officer on the Cyclope

project, helping to lead the project to final development.

       26.    On October 20, 2017, following a presentation by Mr. Rady in New York

City, Andrea Gallego (“Ms. Gallego”), a Partner and Chief Technology Officer with

BCG’s Gamma business unit, made a proposal to Mr. Rady that he join her team in a senior

role to assist with a project she was leading known as “Source.” Source involved the

development of an artificial intelligence analytic engine to assist data scientists to produce

production-ready computer code.

       27.    Mr. Rady accepted this offer to join the Source team and began his role as a

senior analytic software developer working with Ms. Gallego within BCG Gamma in

November 2017.

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       28.    Due, at least in part, to Mr. Rady’s efforts, expertise, and leadership, Source

was delivered ahead of schedule and below budget. This resulted in Mr. Rady’s promotion

to lead analytic software developer in May 2018.

       29.    Throughout his employment with BCG, Mr. Rady continued his part-time

self-funded PhD program at Kings College. Mr. Rady’s PhD research had no relation to

either the Cyclope or Source projects, or any other project on which he was assigned while

employed by BCG.

       30.    Mr. Rady advised BCG, both before he began work with BCG in 2016 and

at various times throughout his employment, about his studies at Kings College. In

particular, prior to being assigned to the Source project team, Mr. Rady advised Ms.

Gallego, as well as Seshadri Iyer (“Mr. Iyer”), a Managing Director and Senior Partner at

BCG Gamma, of his research work at Kings College and that he was contemplating filing

a patent application for a particular invention arising therefrom. Ms. Gallego indicated that

this was not of any concern to BCG, confirming that his research was entirely unrelated to

Cyclope, Source, or any other project Mr. Rady was assigned to during his employment

with BCG.

       31.    On December 22, 2017, Mr. Rady filed Provisional Patent Application No.

62/609,783 for a framework to record to a blockchain unique identification signatures of

physical items, including gemstones, that have unique, random properties. Mr. Rady then

filed an application under the Patent Cooperation Treaty (“PCT”) on December 21, 2018 -

Application No. PCT\US2018\067200.          Mr. Rady also filed a United States patent

application - No. 16/289,083 - which issued on November 5, 2019 as the ‘250 patent.

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       Mr. Rady’s Disclosures to BCG Regarding the De Beers Solution

       32.    On January 8, 2018, Mr. Rady, at the suggestion of Ms. Gallego, who was

aware that he had filed a patent application for an invention derived from his PhD studies

a few weeks earlier, contacted Sylvain Duranton (“Mr. Duranton”), a Senior Partner,

Managing Director, and Chief Executive Officer at BCG’s Gamma’s business unit, to

advise him of his PhD studies and recently-filed patent application. Ms. Gallego knew that

Mr. Duranton, given his position, had overall responsibility for the project team assigned

to develop a method to authenticate and track gemstones in conjunction with De Beers, and

thought that Mr. Rady may be able to assist with its development. At this time, Mr. Rady

was led to believe that BCG had been working on development of this method with De

Beers for a significant period of time and that this work was significantly behind schedule.

       33.    Mr. Rady told Mr. Duranton that his PhD research was focused on physical

optical properties, photonics, statistical modeling and analysis for predictive rendering of

physical assets, including gemstones, and that he would be willing to discuss his research

and patent application on a confidential basis.

       34.    On January 9, 2018, in BCG’s offices in Paris, Mr. Rady met with Mr.

Duranton to discuss his PhD research and pending patent application. Prior to disclosing

any details of his research or unpublished patent application, Mr. Rady asked Mr. Duranton

to agree to maintain the contents of the meeting in strict confidence. Mr. Duranton agreed

that he would not disclose any details about those discussions to any third party, including

any others at BCG, or to use the information for any purpose without Mr. Rady’s consent.

       35.    During this meeting, Mr. Rady provided Mr. Duranton with significant

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details about his research findings and pending patent application. Mr. Duranton was

extremely impressed and noted that Mr. Rady’s invention and related technology was very

valuable and that Mr. Rady could likely license his technology and invention to a number

of third parties. Mr. Duranton told Mr. Rady that he will inform Arun Ravindran (“Mr.

Ravindran”), a Partner and Associate Director at BCG, and Romain De Laubier (“Mr. De

Laubier”), a Managing Director and Partner at BCG, who were leading the De Beers project

(which had been assigned the name Project Midnight), to contact Mr. Rady to discuss

BCG’s possible licensing of his technology and invention.

       36.    On January 18, 2018, Mr. Ravindran contacted Mr. Rady by email,

requesting a call to discuss Project Midnight stating: “this is about De Beers and if/how we

can use your provisional patent for it....” During a call later that day where Mr. Rady was

working at BCG’s office in New York City while Mr. Ravindran was in BCG’s office in

Boston, Mr. Ravindran requested that Mr. Rady send him a copy of his unpublished

provisional patent application. Mr. Rady agreed to do so only if Mr. Ravindran agreed to

hold the patent application and any other details provided by Mr. Rady regarding his

research efforts in confidence and not share any details with anyone, including any others

at BCG, or otherwise use this information, without Mr. Rady’s consent. Mr. Ravindran

agreed to these conditions of confidentiality.

       37.    Given Mr. Ravindran’s assurance that Mr. Rady’s unpublished patent

application and details regarding his PhD research would be maintained in confidence, Mr.

Rady sent Mr. Ravindran a copy of his unpublished patent application following their

discussion.

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      38.    On January 22, 2018, Mr. Ravindran organized a Webex meeting with Mr.

Rady, who was still working from BCG’s offices in New York City, to further discuss Mr.

Rady’s patent application and research and their potential application to Project Midnight.

During this meeting, Mr. Rady provided significant details regarding an end-to-end

solution to confirm the provenance of physical items such as diamonds, without reliance

on a central authority. Before providing this additional detailed information to Mr.

Ravindran, Mr. Rady once again confirmed that this information would remain confidential

and not be used by BCG on Project Midnight or any other project, without Mr. Rady’s

consent. Mr. Ravindran once again agreed to these conditions of confidentiality.

      39.    Then, on January 23, 2018, at Mr. Ranindran’s request, Mr. Rady, who was

still working from BCG’s offices in New York City, provided Mr. Ravindran additional

details regarding his PhD research and pending patent application and their potential

application to Project Midnight. Mr. Rady also discussed with Mr. Ravindran the projects

on which he was assigned during his employment with BCG so as to confirm that the

information being provided by Mr. Rady had not been developed by him within the scope

of his employment at BCG.

      40.    Upon receipt of this information, Mr. Ravindran did not question Mr. Rady’s

assertions that this technology was developed as part of his PhD research. Instead, Mr.

Ravindran again met with Mr. Rady on February 6, 2018 to explore how Mr. Rady’s

technology could potentially be exploited by BCG and De Beers as part of Project Midnight

and to understand what Mr. Rady wanted in exchange for BCG potentially using his

technology as part of the De Beers solution.

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       41.    In this meeting, Mr. Ravindran confirmed that BCG was struggling to

develop a method to authenticate, match, and track gemstones. In reply to Mr. Ravindran’s

question, Mr. Rady stated that he would be interested in a licensing relationship to help

BCG advance the De Beers project.

       Mr. Rady’s Passed on a Potential Licensing Opportunity for His Patent

       42.    On or about March 7, 2018, as a result of connections held by certain of his

university colleagues, Mr. Rady was approached by Rio Tinto, Plc (“Rio Tinto”), one of

the largest metal and mining corporations in the world, about potentially licensing his

technology and patent for its own use.

       43.    Mr. Rady informed Ms. Gallego of this potential licensing opportunity to

ensure that it did not pose a conflict with his employment at BCG. In this regard, Ms.

Gallego introduced Mr. Rady to Sophie Pradere (“Ms. Pradere”), Senior Legal Counsel

with BCG, to discuss this issue.

       44.    Ms. Pradere recommended that Mr. Rady not enter into licensing

negotiations with Rio Tino for his technology or patent application as this could be seen

by De Beers as a conflict of interest given BCG’s relationship with De Beers and the

ongoing discussions regarding use of Mr. Rady’s invention as part of Project Midnight.

       45.    Based on Ms. Pradere’s direction, Mr. Rady terminated all discussions with

Rio Tinto, thus forfeiting an opportunity to license his technology and invention for

significant fees.




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       Defendants’ Misappropriation of Mr. Rady’s Technology and Infringement of
       Patent

       46.    On May 11, 2018, Mr. Ravindran posted on BCG’s internal workplace

communication platform an article that appeared in Computerworld published by De Beers

a day earlier about the launch of TRACR; a system that would be used to track diamonds

from the mine to retail locations.      TRACR, this article explained, tracks diamond

provenance assuring retailers and consumers that each diamond has been sustainably mined

and is of guaranteed quality. TRACR further tracks authenticity to assure each diamond’s

provenance providing traceability into each step of cutting, polishing, and otherwise

modifying every diamond.

       47.    On May 11, 2018, and immediately after seeing the Computerworld article,

Mr. Rady confronted Mr. Ravindran about the technology used in the TRACR application.

During the discussion with Mr. Ravindran, Mr. Rady realized the similarities between

TRACR and his patent application and technology disclosed to Mr. Ravindran months

earlier. Despite the fact that Mr. Ravindran knew since at least February 2018 that Mr.

Rady was interested in a licensing relationship in exchange for BCG using his technology

to advance the De Beers project, Mr. Ravindran once again asked Mr. Rady whether he

would be willing to license his patent and associated technology to BCG. Mr. Rady

reiterated, as he had done before, that he would be interested in a licensing relationship.

       48.    On May 14, 2018, Mr. Rady discussed his concerns with Ms. Gallego and

raised his concerns to Messrs. Duranton, Ravindran, and De Laubier regarding the overlap




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between his technology and the DeBeers solution based on his discussions with Mr.

Ravindran three days earlier.

         49.   On May 18, 2018, Ms. Gallego informed Mr. Rady that Mr. Ravidran was

exploring the possibility of licensing Mr. Rady’s patent and associated technology.

         50.   On May 21, 2018, Ms. Gallego informed Mr. Rady that Ms. Pradere was

gathering information from BCG DV and that this information showed that Mr. Rady had

no connection with, or exposure to, the De Beers project, thus confirming Mr. Rady’s claim

that his invention and related technology had not been developed in the course of his

employment with BCG.

         51.   On May 22, 2018, Mr. Rady, as a member of the BCG GAMMA global

distribution list, received an email from Shervin Khodabandeh (“Mr. Khodabandeh”), a

Managing Director and Senior Partner at BCG, attaching a photograph of a slide presented

by BCG at a meeting in Paris describing the TRACR application. The slide indicated that

the TRACR application utilizes 3D image scanning of gemstones to identify a trio of

anomalies (inclusions/scratches/defects) which are then vector mapped into a 3D spatial

relationship along with spectral analysis to determine each gemstone’s unique

“fingerprint.” BCG’s presentation also made clear that TRACR stored these fingerprints

on a blockchain to authenticate the provenance of each diamond through the entire supply

chain.

         52.   This description of TRACR, developed by BCG in conjunction with De

Beers, was nearly identical in all material respects to Mr. Rady’s technology and read on

the claims included in Mr. Rady’s then-pending patent application.

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       53.    This information from Mr. Khodabandeh confirmed Mr. Rady’s suspicions

that TRACR implemented his invention and related technology.

       54.    On or about August 16, 2018, Ms. Gallego shared with Mr. Rady several

emails concerning an internal BCG investigation sent to her, as well as Mr. Iyer and others

at BCG, confirming that Mr. Ravindran had shared Mr. Rady’s pending patent application

and technology with other BCG employees to advance Project Midnight and potentially

other projects. This investigation, according to Ms. Gallego, confirmed, based on Mr.

Ravindran’s own admissions, that there was significant overlap between the De Beers

solution and Mr. Rady’s invention identified in his patent application, as well as the other

technology disclosed by Mr. Rady to Mr. Ravindran.

       55.    On October 4, 2018, Mr. Rady received exemplary comments during his

annual review. In particular, Ms. Gallego, as well as Mr. Iyer, told Mr. Rady that his

contribution to the Source Project was outstanding and consistently exceeded expectations,

and that he exemplified BCG’s core values.

       56.    Notwithstanding his exemplary review a few weeks earlier, BCG fired Mr.

Rady on October 31, 2018. Upon information and belief, Mr. Rady was fired because of

the concerns he raised regarding BCG’s misappropriation of his technology and pending

patent application.

       De Beers Launch of TRACR, GemFair, and the TRACR Association

       57.    In 2018, De Beers launched TRACR, which De Beers described in its 2018

Interim Financial Statement as providing a single, tamperproof, and permanent digital

record for every diamond registered on the TRACR platform. In this financial statement,

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De Beers further described TRACR as underpinning “confidence in diamonds and the

diamond industry by ensuring that all registered diamonds are conflict-free and natural,

while also enhancing efficiency across the sector.”

      58.    Also in 2018, De Beers announced the launch of GemFair, a program to

create a secure and transparent route to market for ethically sourced artisanal and small-

scale mined (“ASM”) diamonds.        De Beers described GemFair in its 2018 Interim

Financial Statement as using “dedicated technology to record ASM production at mine

sites that meet demonstrable ethical standards, with the aim of purchasing rough diamonds

from approved locations…to improve working conditions and livelihoods for those

working in the sector.” De Beers went on to make clear that GemFair “will be intergrated

with the TRACR blockchain platform.”

      59.    De Beers also launched the TRACR Association in 2018; an organization

comprised of many of the largest mining, wholesalers, and retailers in the diamond and

gemstone industry, including Chow Tai Fook, Signet Jewelers, Alrosa, Venus Jewel, Rosy

Blue and Diacore, to name a few. Signet Jewelers, for example, owns and operates

approximately 2,500 retail jewelry stores throughout the United States, including in this

Judicial District, under the retail names Kay Jewelers, Zales, and Jared The Galleria of

Jewelry, while Alrosa is the largest diamond mining company by volume in the world.

Through the TRACR Association, De Beers promotes the use of TRACR to entities up and

down the diamond and gemstone supply chain.

      60.    De Beers has marketed and promoted TRACR throughout the world using a

variety of methods, including a website at the domain tracr.com. As an example, at the

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Jewelers of America National Convention in New York City on July 28, 2019, Oli Cooper,

TRACR’s Chief Operating Officer, participated in a panel discussion including executives

from Signet Jewelers, Richline Group, and IBM about the potential use of blockchain

technology in the jewelry industry. Upon information and belief, Mr. Cooper promoted

the release of TRACR at this event for business purposes of De Beers.

      61.    Similarly, De Beers promoted TRACR at Consensus 2019 held in New York

City from May 12 – 15, 2019. Consensus is an annual trade show for the cryptocurrency

and blockchain industries.

      62.    TRACR Association member Venus Jewel promotes its use of TRACR on

its website at the domain venusjewel.com with the following statement:

      Tracr is an innovative, industry-focused Internet of Value platform
      developed for the diamond industry by the diamond industry. Tracr is
      connecting the diamond industry be establishing a baseline of trust through
      provenance, traceability and authenticity. The Tracr Internet Value Platform
      creates a tamper-proof, immutable record of a diamond’s journey throughout
      the full value chain, whilst ensuring that the diamond industry’s data and
      digital assets are stored and shared securely.



      A Project Midnight Team Member Contacts Mr. Rady to Confirm BCG’s Patent
      Infringement and Misappropriation of Confidential Technology

      63.    In mid-November, 2019, Mr. Rady posted on his LinkedIn account, that on

November 5, 2019, the United States Patent and Trademark Office (the “USPTO”) issued

the ‘250 patent titled “Physical Item Mapping to Blockchain Framework.”

      64.    Several weeks later, Mr. Rady received a message from someone claiming

to be a part of the Project Midnight team at BCG. This person indicated that s/he, as well


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as others on the Project Midnight team, believed that critical information provided to them

during development of TRACR had been misappropriated from Mr. Rady. Specifically,

this individual posted:

       Hi, Max.

       Congratulations on your patent. Most of us at the [BCG] office in London
       saw your LinkedIn post and we are happy for you but are unable to comment
       on it for job security and this is why this profile is not my real name. The
       post confirmed what most of us suspected last year when you left BCG that
       your patent was used in Midnight. I was one of the collaborators on Midnight
       and I and others sensed something odd last year after you left and were
       uncomfortable because management told us to keep quiet and carry on. I
       complained on line anonymously to the Anglo-American speak up hotline
       (https://www.speak-up-site.com/) on 25 November 2018 because I wanted
       De Beers to know that BCG nicked your patent. The complaint reference is
       – 20181125065607. I reported in the hotline how Midnight was behind and
       in the beginning of 2018 the project team received technical information
       from [a certain Product Director at BCG] regarding ideas for stone
       identification and tracking and through the use of this information we
       achieved several project milestones. We found out later that you disputed
       with BCG about the use of your patent without your permission and were
       terminated. There are rumors that you made a claim against BCG so I wish
       you good luck.

(the “Whistleblower Complaint”).

       65.    The Anglo-American speak up hotline to which this individual referred is a

confidential reporting service of De Beers on which employees and stake holders may

report any concerns they may have. In addition to providing the reference number for his

complaint to the speak up hotline, this individual also provided Mr. Rady with a screen

shot of the complaint reference number, a copy of which is below.




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       66.    The Whistleblower Complaint further confirmed Mr. Rady’s beliefs that the

Defendants misappropriated his research and infringed his patent.

       Mr. Rady Reaches Out to BCG and De Beers to Seek Their Position on this Matter

       67.    On September 26, 2018, Mr. Rady, through counsel, sent a cease and desist

letter to BCG requesting BCG and its various business units to immediately cease any and

all further disclosure and exploitation of the technology developed by Mr. Rady, including

through De Beers and any other client or third party with whom Mr. Rady’s technology

was shared or used in breach of BCG’s obligation of confidentiality.

       68.    Additionally, on November 22, 2019, Mr. Rady’s counsel sent a letter to

Bruce Cleaver, Chief Executive Officer of the De Beers Group, advising Mr. Cleaver of

Mr. Rady’s concerns regarding De Beers’ infringement of the ‘250 patent.

       69.    On that same date, Mr. Rady’s counsel sent a letter to Richard Lesser, BCG’s

Chief Executive Officer, as well as Ulrike Schwartz-Runer, BCG’s General Counsel,

raising similar concerns regarding TRACR’s infringement of the ‘250 patent and BCG’s

misappropriation of Mr. Rady’s confidential technology.

       70.    Other than receiving acknowledgements from both De Beers and BCG of

receipt of these letters with pledges to investigate the allegations raised therein, neither Mr.


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Rady nor his counsel have received any substantive response from BCG or De Beers.

                                 COUNT I
                  (INFRINGEMENT OF U.S. PATENT NO. 10,469,250)

       71.      Mr. Rady incorporates by reference the allegations in the preceding

paragraphs as if set forth fully herein.

       72.      Claim 1 of the ‘250 patent claims:

       A network node comprising:

             one or more processing devices;

             a storage device, coupled to the one or more processing devices and
               storing instructions for execution by at least some of the one or more
               processing devices;

             a communications subsystem, coupled to the one or more processing
               devices, to communicate with at least one or more other nodes of a peer-
               to-peer network; and

             item analysis components coupled to the one or more processing devices,
               the item analysis components comprising at least one imaging device
               configured to determine spectral analysis data and 3D scan data from
               measurements generated by the item analysis components;

             wherein the one or more processing devices operate to configure the
              network node to:

              analyze an instance of a physical item using the item analysis
                components to determine a unique signature for the instance, the
                unique signature determined using 3D spatial mapping to define the
                unique signature from the spectral analysis data and 3D scan data
                generated by the item analysis components for the physical item;

              determine, using the unique signature, whether the instance of the
               physical item is previously recorded to a blockchain maintained by
               the peer-to-peer network to provide item tracking and authentication
               services, comparing the unique signature generated by the network
               node to previously recorded unique signatures using 3D spatial
               analysis techniques, rotating in virtual space features of the physical

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               item defined in the unique signature to determine a match with
               features defined in the previously recorded unique signatures; and

             record the instance of the physical item to the blockchain in response to
               the determining whether the instance is previously recorded.

      73.      The De Beers solution is comprised of each and every element claimed in

Claim 1 of the ‘250 patent. Mr. Rady has not authorized such development, use, offer to

license, or license of his technology by Defendants.

      74.      Claim 12 of the ‘250 patent claims:

            A computer implemented method comprising:

            analyzing an instance of a physical item using item analysis components
              of a network node to determine a unique signature for the instance, the
              unique signature determined using 3D spatial mapping to define the
              unique signature from spectral analysis data and 3D scan data generated
              by the item analysis components for the physical item;

            wherein the network node is configured to communicate with at least one
             or more other nodes of a peer-to-peer network, and the item analysis
             components comprise at least one imaging device configured to
             determine the spectral analysis data and 3D scan data from
             measurements generated by the item analysis components;

            determining, using the unique signature, whether the instance of the
             physical item is previously recorded to a blockchain maintained by the
             peer-to-peer network to provide item tracking and authentication
             services, comparing the unique signature generated by the network node
             to previously recorded unique signatures using 3D spatial analysis
             techniques, rotating in virtual space features of the physical item
             defined in the unique signature to determine a match with features
             defined in the previously recorded unique signatures; and

            recording the instance of the physical item to the blockchain.

      75.      The De Beers solution is comprised of each and every element claimed in

Claim 12 of the ‘250 patent. Mr. Rady has not authorized such development, use, offer to


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license, or license of his technology by Defendants.

      76.    Claim 22 of the ‘250 patent claims:

      A system comprising:

      a plurality of network nodes co-located at a field location, the plurality of
        nodes coupled for communication to a peer-to-peer network implementing
        a distributed ledger providing a system to track and authenticate items,
        wherein a one of the plurality of network nodes is configured to define an
        item assessment node, the one of the plurality of network nodes
        comprising:

        one or more processing devices;

        a storage device, coupled to the one or more processing devices and storing
          instructions for execution by at least some of the one or more processing
          devices;

        a communications subsystem, coupled to the one or more processing
          devices, to communicate with at least one or more other nodes of a peer-
          to-peer network; and

        item analysis components coupled to the one or more processing devices,
          the item analysis components comprising at least one imaging device
          configured to determine spectral analysis data and 3D scan data from
          measurements generated by the item analysis components;

        wherein the one or more processing devices operate to configure the
         network node to:

        analyze an instance of a physical item using the item analysis components
          to determine a unique signature for the instance, the unique signature
          determined using the analysis data for the physical item;

        determine, using the unique signature, whether the instance of the physical
         item is previously recorded to a blockchain maintained by the peer-to-
         peer network to provide item tracking and authentication services,
         comparing the unique signature generated by the network node to
         previously recorded unique signatures using 3D spatial analysis
         techniques, rotating in virtual space features of the physical item defined
         in the unique signature to determine a match with features defined in the
         previously recorded unique signatures; and

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         record the instance of the physical item to the blockchain in response to the
           determining whether the instance is previously recorded.

       77.    The De Beers solution is comprised of each and every element claimed in

Claim 22 of the ‘250 patent. Mr. Rady has not authorized such development, use, offer to

license, or license of his technology by Defendants.

       78.    Defendants’ unauthorized development, use, offer to license, and/or license

of the De Beers solution constitutes an infringement of at least Claims 1, 12, and 22 of the

‘250 patent in violation of 35 U.S.C. § 271(a).

       79.    Upon information and belief, Defendants have induced others to infringe at

least Claims 1, 12, and 22 of the ‘250 patent in violation of 35 U.S.C. § 271(b).

       80.    Mr. Rady has been damaged by the Defendants’ infringement of the ‘250

patent in an amount to be determined at trial.

       81.    Upon information and belief, Defendants’ infringement of the ‘250 patent

has been willful.

                           COUNT II
         (COMMON LAW MISAPPROPRIATION OF TRADE SECRETS)

       82.    Mr. Rady incorporates by reference the allegations in the preceding

paragraphs as if set forth fully herein.

       83.    Mr. Rady provided BCG with information regarding his PhD research and

his then-unpublished patent application under a confidentiality agreement wherein BCG

agreed not to disclose this information to others within BCG or to any third party without

Mr. Rady’s consent.


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       84.    Mr. Rady took reasonable measures to keep details regarding his technology

secret and such information derived economic value from not being generally known to,

and not being readily ascertainable through proper means by, others who could obtain

economic value from the use of that information.

       85.    Mr. Rady never provided the Defendants with consent to disclose or

otherwise use the confidential information provided to BCG by Mr. Rady.

       86.    Defendants improperly used Mr. Rady’s confidential information as part of

Project Midnight to, among other things, develop, use, offer to license, and/or license

TRACR. Upon information and belief, Mr. Rady’s confidential information was also used

by at least BCG to develop other applications.

       87.    Mr. Rady has been damaged by Defendants’ misappropriation of confidential

information in an amount to be determined by trial.

       88.    Upon information and belief, Defendants’ misappropriation of Mr. Rady’s

confidential information was willful.

                              COUNT III
              (MISAPPROPRIATION OF TRADE SECRETS UNDER
             DEFEND TRADE SECRETS ACT, 18. U.S.C. §§ 1836. et seq.)

       89.    Mr. Rady incorporates by reference the allegations in the preceding

paragraphs as if set forth fully herein.

       90.    Mr. Rady provided BCG with information regarding his PhD research and

his then unpublished patent application under a confidentiality agreement wherein BCG

agreed not to disclose this information to others within BCG or to any third party without

Mr. Rady’s consent.

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       91.    Mr. Rady took reasonable measures to keep details regarding his technology

secret and such information derived economic value from not being generally known to,

and not being readily ascertainable through proper means by, others who could obtain

economic value from the use of that information.

       92.    Mr. Rady never provided the Defendants with consent to disclose or

otherwise use the confidential information provided to BCG by Mr. Rady.

       93.    Defendants improperly used Mr. Rady’s confidential information as part of

Project Midnight to, among other things, develop, use, offer to license, and/or license

TRACR. Upon information and belief, Mr. Rady’s confidential information was also used

by at least BCG to develop other applications.

       94.    Mr. Rady has been damaged by Defendants’ misappropriation of confidential

information in an amount to be determined by trial.

       95.    Upon information and belief, Defendants’ misappropriation of Mr. Rady’s

confidential information was willful.

                               COUNT IV
                 (BREACH OF CONTRACT AGAINST BCG ONLY)

       96.    Mr. Rady incorporates by reference the allegations in the preceding

paragraphs as if set forth fully herein.

       97.    Mr. Rady provided BCG with information regarding his PhD research and

his then unpublished patent application under a confidentiality agreement wherein BCG

agreed not to disclose this information to others within BCG or to any third party without

Mr. Rady’s consent.


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       98.    Mr. Rady took reasonable measures to keep details regarding his technology

secret and such information derived economic value from not being generally known to,

and not being readily ascertainable through proper means by, others who could obtain

economic value from the use of that information.

       99.    This agreement to maintain the confidentiality of Mr. Rady’s confidential

information is a valid and binding contract.

       100.   Mr. Rady never provided BCG with consent to disclose or otherwise use the

confidential information provided to it by Mr. Rady.

       101.   Defendants improperly used Mr. Rady’s confidential information as part of

Project Midnight to, among other things, develop, use, offer to license, and/or license

TRACR. Upon information and belief, Mr. Rady’s confidential information was also used

by at least BCG to develop other applications.

       102.   BCG breached the confidentiality agreement with Mr. Rady by disclosing,

using, offering to license, and/or licensing Mr. Rady’s confidential information without his

consent.

       103.   Mr. Rady has been damaged by BCG’s breach of contract in an amount to be

determined by trial.

                                     JURY DEMAND

       104.   Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Mr. Rady

respectfully requests that all issues and claims be tried before a jury.




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                                PRAYER FOR RELIEF

       WHEREFORE, Mr. Rady prays for the following judgment and relief against

Defendants:

       A.     A judgment that the Defendants have infringed the ‘250 patent;

       B.     A permanent injunction against Defendants and their affiliates, subsidiaries,

assigns, employees, agents, and anyone acting in privity or concert with them, from

infringing the ‘250 patent;

       C.     A judgment that the Defendants misappropriated Mr. Rady’s trade secrets

and confidential information;

       D.     A permanent injunction against Defendants and their affiliates, subsidiaries,

assigns, employees, agents, and anyone acting in privity or concert with them, from further

misappropriating Mr. Rady’s confidential information and trade secrets;

       E.     A judgment that BCG breached its agreement with Mr. Rady to maintain the

confidentiality of his PhD research and other information;

       F.     An award of all damages adequate to compensate Mr. Rady for Defendants’

patent infringement and misappropriation of trade secrets, as well as BCG’s breach of

contract;

       G.     An award of treble damages as a result of Defendants’ willful infringement

of the ‘250 patent;

       H.     An award of pre-judgement and post-judgment interest at the maximum rate

allowed by law;

       I.     An award finding that this is an exceptional case and awarding Mr. Rady his

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costs, expenses, disbursements, and reasonable attorneys’ fees related to Defendants’

patent infringement under 35 U.S.C. §285 and all other applicable statutes, rules, and

common law; and

      J.     Such other relief, in law or in equity, as this Court deems just and proper.

Dated: New York, New York
       March 13, 2020
                                         WHITEFORD, TAYLOR & PRESTON L.L.P


                                         By: /s/ Kenneth M. Lewis
                                             Kenneth M. Lewis

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